Case 8:24-cr-00276-VMC-LSG       Document 84     Filed 04/28/25   Page 1 of 15 PageID 286




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                      CASE NO. 8:24-cr-276-VMC-LSG

  MIGUEL ANGEL FORTIER JR.
  _________________________________/


       DEFENDANT MIGUEL FORTIER’S SENTENCING MEMORANDUM

        Defendant Miguel Fortier (Fortier) files this sentencing memorandum for

  the Court’s consideration in the above matter. Fortier is asking the Court to

  downward depart and/or vary from the final guideline range based on 18 U.S.C. §

  3553(a) factors, and others, to achieve a sentence that is “sufficient but not greater

  than necessary”. In addition, Fortier has certain sentencing recommendations he

  would like the Court to take into consideration.

        A sentence outside the guideline range does not require "extraordinary

  circumstances." United States v. Gall, 552 U.S. 38 at 47. Indeed, "[t]here are . . .

  many instances where the Guidelines range will not yield a reasonable sentence."

  United States v. Hunt, 459 F.3d 1180, 1184 (11th Cir. 2006). As such, "district

  courts are obligated to impose a reasonable sentence, regardless of the Guidelines

  range, so long as the Guidelines have been considered." Id.; 18 U.S.C. §

  3553(a)(4).
Case 8:24-cr-00276-VMC-LSG      Document 84     Filed 04/28/25   Page 2 of 15 PageID 287




        Knowing that the Court will thoroughly read the pre-sentence investigation

  report (PSR) prior to Fortier’s sentencing, this memorandum will highlight and

  expound upon some of those 3553(a) factors.

                    Variance Based on § 18 U.S.C. 3553(a) Factors

        Fortier requests that this Court vary from the applicable guideline range

  based on the totality of the factors enumerated in § 18 U.S.C. 3553(a).

  *     History and Characteristics of the Defendant

        Fortier makes no excuses for the choices he made in life. However, despite

  having the basic necessities of life, Fortier faced a profoundly difficult upbringing

  that this Court should consider. Throughout his childhood, he was exposed to

  serious trauma, including witnessing domestic violence between his mother and

  her boyfriend, a known drug addict. The environment of instability, substance

  abuse, and violence left a deep emotional impact on him at a young age, often

  forcing him to seek refuge at friends’ homes or public parks to escape the chaos.

        Fortier’s education suffered as a result as once could imagine; although he

  made efforts to attend school, the turmoil in his home life and the dangers he

  encountered at school—including being robbed without consequence—made it

  nearly impossible for him to thrive academically. Despite attending three different

  high schools, the cumulative setbacks and emotional strain ultimately led him to

                                       Page 2 of 15
Case 8:24-cr-00276-VMC-LSG       Document 84     Filed 04/28/25    Page 3 of 15 PageID 288




  withdraw. Nevertheless, Fortier has demonstrated resilience and a continued

  commitment to self-improvement by attempting to complete his GED, successfully

  passing several portions of the exam. His repeated efforts, despite facing

  significant obstacles, reflect a desire for a better future and an underlying

  determination that deserves recognition.

  (See Exhibit, letters of support)

  *     The Need for the Sentence Imposed and Reflection for Seriousness of

  Offense

        It can be reasonably argued that home confinement with location monitoring

  for three years for a 26- year-old, with no prior criminal convictions, will

  absolutely reflect the seriousness of the offense, promote respect for the law, and

  will provide just punishment for the offense. In addition, such a sentence serves as

  an adequate deterrence to criminal conduct and protects the public from further

  crimes of the Defendant. Home detention and the rigors of federal supervision are

  no simple task and the punitive nature of the restriction of movement serves as just

  punishment for the wrongdoing in this case.

        There is no excuse for Fortier’s actions, and he offers no legitimate

  justification for the decisions and errors that led to this offense. He sincerely

  acknowledges the seriousness of committing fraud and theft against any business

                                        Page 3 of 15
Case 8:24-cr-00276-VMC-LSG       Document 84     Filed 04/28/25   Page 4 of 15 PageID 289




  or institution. This was a grave lapse in judgment, and Fortier is deeply

  remorseful.

        Indeed, Fortier has already suffered greatly as a result of this current

  prosecution. Although the unlawful conduct herein ended years ago, since that

  time, the protracted investigation and prosecution of this matter has hung over his

  head like a Damocles sword. Every day since his arrest he has been pained with

  stress, regret, and the dread of uncertainty, given what he stands to lose.

        To his credit, Fortier fully accepted responsibility after federal prosecution

  about as quickly as one can do and he expresses sincere regret for betraying the

  public trust. At the same time, it is important to note that this was a non-violent,

  isolated offense, committed during a time of financial vulnerability and confusion.

  Fortier poses no danger to the community, and he is committed to making

  restitution payments in good faith. He remains ready and willing to repay the debt

  owed and to continue contributing positively to society in any way he can. His

  remorse is not only spoken—it is reflected in his conduct, his cooperation with the

  judicial process, and his daily efforts to make things right.

        In addition, this Court should take into substantial consideration the

  escalating costs of incarceration. Every year this figure seems to get larger and

  larger. As the PSR notes in paragraph 88, it costs taxpayers almost $52,000.00 a

                                       Page 4 of 15
Case 8:24-cr-00276-VMC-LSG      Document 84      Filed 04/28/25   Page 5 of 15 PageID 290




  year to incarcerate a federal inmate. Fortier is asking this Court to vary from the

  guideline range based on this issue and save taxpayers thousand of dollars while

  still handing out a significant punishment that is indicative of the seriousness of

  the offense and which will also serve as an adequate deterrence.

        Furthermore, incarcerating Fortier would hinder his ability to repay the

  victims in this matter, defeating the financial accountability objective of

  sentencing. In contrast, house arrest achieves punitive and supervisory goals at a

  fraction of the cost and allows the Defendant to make meaningful progress toward

  financial restitution. See Justice Policy Institute, "The High Cost of Incarceration"

  (2019). This aligns with 18 U.S.C. § 3553(a)(7), which directs courts to consider

  the need to provide restitution to victims. Imprisonment for any lengthy period of

  time in this case would undermine that statutory purpose.

  *     Deterrence, and Protection of the Public from Crimes of the Defendant.

        Adequate deterrence is one of the four primary statutory sentencing factors.

  18 U.S.C. §3553(a)(2)(b). The National Institute of Justice, a program of the U.S.

  Department of Justice, publicly announces, however, that sending an offender to

  prison is not a very effective way to deter crime. In fact, according to NIJ.GOV the

  certainty of being caught is a vastly more powerful deterrent than the punishment.

  (See Exhibit: Deterrence Fact Sheet).

                                       Page 5 of 15
Case 8:24-cr-00276-VMC-LSG       Document 84      Filed 04/28/25   Page 6 of 15 PageID 291




        General deterrence does not require incarceration. United States v. Edwards,

  595 F.3d 1004, 1016 (9th Cir. 2010). Indeed, empirical evidence suggests that

  incarceration does little to deter crime. See National Institute of Justice, U.S. Dep’t

  of Justice, Five Things About Deterrence at 1 (May 2016) (“Sending an individual

  convicted of a crime to prison isn’t a very effective way to deter crime.”).

        Although “[o]n the day of sentencing, judges frequently tell a convicted

  defendant that they are being sentenced to prison to ‘send a message’ that their

  criminal behavior will not be tolerated . . . the value of this message is often

  insignificant.”1 Rather, it is the “certainty of apprehension, not the severity of the

  ensuing legal consequence, [that] is the more effective deterrent.”2

        This is because apprehension is the most immediate and predictable

  consequence of criminal behavior. The severity of a potential sentence, by

  contrast, is much more difficult for a would-be offender to estimate. It occurs at

  the end of a lengthy process wherein any potential punishment might be increased

  or decreased based on factors that are entirely unknown to the majority of



        See Long-Term Sentences: Time to reconsider The Scale of Punishment,
        1


  Marc Mauer, at 123, www.sentencingproject.org.

        Daniel S. Nagin, Deterrence in the Twenty-first Century: A Review of the
        2


  Evidence, at 1 (2013).

                                        Page 6 of 15
Case 8:24-cr-00276-VMC-LSG       Document 84     Filed 04/28/25   Page 7 of 15 PageID 292




  potential wrongdoers. See Nagin, supra fn.2 at 10 (“In order for a formal

  sanction— whether moderate or severe—to be imposed, the offender must first be

  apprehended, usually by the police. He must next be charged and successfully

  prosecuted, and finally sentenced by the judge. Successful passage through all of

  these stages is far from certain.”). Consequently, research demonstrates that

  potential criminals are far more concerned with the likelihood of being caught

  than what their potential sentence might be.

        Adding to that idea, law enforcement and prosecutors successfully deter

  crime already by increasing the public perception that criminals will be caught and

  punished – which is certainly the case in large scale theft and fraud investigations

  as the United States makes it abundantly clear through multiple information and

  public awareness channels that it is very much involved in the business of

  prosecuting these cases and seeking restitution. This public campaign for the

  continued fight on fraud and theft however, poses an odd juxtaposition with those

  involved in the criminal justice system who now know, that increasing the severity

  of punishment does little to deter the crime itself.

  *     Home Detention is Appropriate and Incarceration is Not Necessary

        Fortier further agues incarceration is not necessary to reflect the seriousness

  of his criminal conduct, promote respect for the law, or provide just punishment.

                                       Page 7 of 15
Case 8:24-cr-00276-VMC-LSG      Document 84      Filed 04/28/25   Page 8 of 15 PageID 293




  18 U.S.C. § 3553(a)(2)(A). Where, as here, “Congress did not set a mandatory

  minimum,” these goals “can be accomplished by a set of other sanctions that do

  not necessarily include incarceration.” United States v. Walker, 252 F. Supp. 3d

  1269, 1291 (D. Utah 2017). In this matter, home detention also favors private

  medical care at a doctor of Fortier’s choosing and at his expense.

  *     Fortier’s Need for Immediate/Future Medical Care

        Here, the PSR states that Fortier suffers from multiple chronic and serious

  health issues that, individually and collectively, create substantial concerns

  regarding his ability to receive appropriate and timely care in the BOP system.

  Specifically, Fortier has been diagnosed with a pituitary macroadenoma, a tumor

  located in his head that, while currently non-life-threatening, requires continual

  monitoring and treatment with Cabergoline, a specialty medication. Surgical

  intervention may eventually be necessary. The defendant also experiences

  gastroesophageal reflux disease (GERD), has documented severe allergies to tree

  nuts and cat dander requiring an EpiPen at all times to guard against

  life-threatening anaphylaxis, and suffers from chronic pain and disability

  associated with surgically-corrected flat foot deformities, including permanent

  hardware in both feet. (Doc. 77, Ps. 62-65).

        Fortier’s medical records from Aurora Health Care confirm these diagnoses

                                       Page 8 of 15
Case 8:24-cr-00276-VMC-LSG     Document 84       Filed 04/28/25   Page 9 of 15 PageID 294




  and ongoing treatment needs. Recent imaging studies, including a 2024 liver

  ultrasound revealing a cystic lesion and an MRI of his feet demonstrating ongoing

  orthopedic complications, further underscore the complexity of his condition.

        The Bureau of Prisons' capacity to provide specialized care — particularly

  for individuals requiring continuous management of rare tumors, access to specific

  prescription regimens, allergen-controlled environments, and immediate

  emergency interventions for anaphylaxis — is limited. Numerous reports and

  judicial findings have recognized that the BOP faces significant challenges in

  consistently providing adequate health care, especially for inmates with complex

  or chronic conditions. While each facility offers medical care—often through

  community providers under contract—staffing shortages remain a persistent issue.

  A 2024 Office of Inspector General (OIG) report concluded that FMC Devens, for

  example, had "serious issues" in providing adequate healthcare to inmates.

  https://www.forbes.com/sites/walterpavlo/2025/03/13/cases-show-medical-care-u

  nder-scrutiny-at-federal-bureau-of-prisons/.

        Incarcerating Fortier would expose him to significant medical risks,

  including uncontrolled tumor growth, delayed surgical intervention, poorly

  managed orthopedic pain, and potentially fatal anaphylactic reactions without

  immediate medical assistance. Additionally, the stress of incarceration could

                                      Page 9 of 15
Case 8:24-cr-00276-VMC-LSG     Document 84       Filed 04/28/25   Page 10 of 15 PageID 295




  exacerbate his GERD and related complications.

        USSG 5H1.4, Physical Condition (Policy Statement) states: Physical

  condition or appearance, including physique, may be relevant in determining

  whether a departure is warranted, if the condition or appearance, individually or in

  combination with other offender characteristics, is present to an unusual degree

  and distinguishes the case from the typical cases covered by the guidelines. An

  extraordinary physical impairment may be a reason to depart downward; e.g., in

  the case of a seriously infirm defendant, home detention may be as efficient as,

  and less costly than, imprisonment.

        In certain cases a downward departure may be appropriate to accomplish a

  specific treatment purpose. See §5C1.1, Application Note 7. The Court may grant

  a downward departure under U.S.S.G. § 5H1.4 based on a defendant’s

  extraordinary physical impairment. Likewise, pursuant to 18 U.S.C. § 3553(a), the

  Court should consider the defendant’s medical needs and the Bureau of Prisons’

  (BOP) well-documented limitations in addressing serious and complex health

  conditions as grounds for a variance.

        For these reasons, a downward departure under § 5H1.4, or alternatively, a

  variance under § 3553(a), is appropriate to avoid a sentence that would constitute

  unnecessary suffering, serious health deterioration, and exposure to

                                        Page 10 of 15
Case 8:24-cr-00276-VMC-LSG      Document 84      Filed 04/28/25   Page 11 of 15 PageID 296




  life-threatening medical emergencies that the BOP cannot safely and consistently

  manage. A non-custodial sentence, or a significant downward variance, would

  more appropriately account for the defendant’s personal history and

  characteristics, promote just punishment without undue suffering, and serve the

  purposes of sentencing in a humane and proportionate manner.

  *     Non-custodial sentences are effective punishment

        Federal courts have increasingly recognized the punitive weight and

  effectiveness of non-custodial sentences. As the Supreme Court observed: "A

  sentence of probation is not a punishment of no consequence. … [It] may work to

  restrict the defendant's liberty significantly." Gall v. United States, 552 U.S. 38,

  48-49 (2007).

        While on probation, Fortier would be required to comply with “strict

  reporting conditions” and would remain under the supervision of a Probation

  Officer. Gall, 374 F. Supp. 2d at 763. Moreover, Fortier “faces the harsh

  consequences that await if he violates the conditions of his probationary term.” Id.

  Without question, probation would be a “severe punishment, hugely restrictive of

  liberty, highly effective in the determent of crime and amply retributive.” United

  States v. Coughlin, No. CRIM. 06-20005, 2008 WL 313099, at *5 (W.D. Ark. Feb.

  1, 2008) (holding “[n]ot all defendants must be sentenced to imprisonment to be

                                       Page 11 of 15
Case 8:24-cr-00276-VMC-LSG      Document 84     Filed 04/28/25   Page 12 of 15 PageID 297




  duly punished.”)

        Finally, the collateral consequences of a felony conviction will punish

  Fortier for years to come. These effects “can be devastating. . . . [m]yriad laws,

  rules, and regulations operate to discriminate against ex-offenders and effectively

  prevent their reintegration into the mainstream society and economy.” Nesbeth,

  188 F. Supp. 3d at 180. Although the full measure of these collateral consequences

  cannot be measured, they are punishments all the same.3

        In sum, Fortier’ proposed sentence would help promote respect for the law

  by demonstrating that a defendant’s efforts to redeem himself and become a

  productive and law-abiding citizen will not go unrecognized. Fortier’ acceptance

  of responsibility, efforts toward cooperation, and exemplary conduct since this

  investigation began would serve as a clear example of the importance of giving

  respect to the law.4


        3
           See id. at 198 (“[T]he collateral consequences a convicted felon must face
  should be part of a sentencing judge’s calculus in arriving at a just punishment.”);
  see also United States v. Givens, No. 8:04-CR-478, 2006 WL 3390752, at *5–6
  (D. Neb. Nov. 22, 2006) (sentence of home confinement appropriate where
  defendant “lost his home and business as a result of his conduct,” as well as the
  “embarrassment, loss of reputation, and stigma” that defendant underwent during
  trial and following his conviction).

        4
         See United States v. Del Campo, 695 F. App’x 453, 458–59 (11th Cir.
  2017) (affirming a non-custodial sentence where the defendant had “no criminal
                                      Page 12 of 15
Case 8:24-cr-00276-VMC-LSG     Document 84     Filed 04/28/25   Page 13 of 15 PageID 298




        With humility, Fortier proposes the following reasonable sentence:

  *     A three-year term of home detention with location monitoring, with work

        release to maintain income for restitution.

  *     A formal restitution payment plan, to begin immediately and continue

        throughout the supervised release term.

  *     Special conditions including financial disclosures, continued employment,

        250 hours of community service, and any medical and therapeutic

        recommendations of Probation.

        Fortier argues the proposed sentence would be “sufficient, but not greater

  than necessary” to serve the needs of sentencing. 18 U.S.C. § 3553(a); United

  States v. Tomko, 562 F.3d 558, 563 (3d Cir. 2009) (granting a non-custodial

  sentence including 250 hours of community service in light of defendant’s

  “negligible criminal history, his record of employment, his support for and ties in

  the community, and the extensive charitable work he has done.”).

        Should this Court decide to incarcerate Fortier, he requests self-surrender



  history whatsoever, [and] whose offenses predated his sentencing by nine years
  (during which time [the defendant’s] record was unblemished)”); United States v.
  Pflum, 556 F. Supp. 2d 1254, 1265 (D. Kan. 2008) (“The seriousness of the
  offense is not lost in an extended term of probation, particularly when the
  defendant has already taken such significant and costly strides toward reform.”).

                                      Page 13 of 15
Case 8:24-cr-00276-VMC-LSG     Document 84     Filed 04/28/25   Page 14 of 15 PageID 299




  given his compliance with all pre-trial conditions of release. He further requests

  placement at a medical center, or low-security facility, or work camp which offers

  appropriate medical care.

        WHEREFORE Defendant Fortier requests that this Court take into

  consideration all of the arguments made herein and for other such relief as this

  Court deems just and appropriate.



                                               Respectfully Submitted,

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                                      Page 14 of 15
Case 8:24-cr-00276-VMC-LSG     Document 84    Filed 04/28/25   Page 15 of 15 PageID 300




                             CERTIFICATE OF SERVICE

        I hereby certify that on April 28, 2025, a copy of the foregoing sentencing

  memorandum was filed electronically. Notice of this filing will be sent by

  operation of the Court’s CM/ECF system to all parties indicated on the electronic

  filing receipt. Parties may access this filing through the Court’s CM/ECF system.



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                                     Page 15 of 15
